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     CALIFORNIA STATE BAR NUMBER 123357
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 3   SACRAMENTO, CALIFORNIA 95825
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 5   ATTORNEY FOR DEFENDANT
     LIBORIO RUIZ LOPEZ, JR.
 6
 7
                    IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                            EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,           )                   CR.-S-03-362-GEB
                                         )
11         PLAINTIFF,                    )                   STIPULATION AND PROPOSED ORDER
                                         )                   TO CONTINUE STATUS CONFERENCE
12         v.                            )
                                         )
13   LIBORIO RUIZ LOPEZ, JR.,et al.,     )
                                         )
14                                       )
           DEFENDANTS.                   )
15   ____________________________________)
16
            Plaintiff United States of America, by its counsel, Assistant United States Attorney, Mr.
17
     Phillip A. Talbert, defendant Maria Ruiz, by her counsel Armando G. Villapudua, and defendant
18
     Liborio Ruiz Lopez, Jr., by his counsel James R. Greiner, hereby stipulate and agree that the status
19
     conference calendared for Friday, July 24, 2005, at 9:00 a.m. before the Honorable District Court
20
     Judge Garland E. Burrell, Jr. shall be vacated and continued to Friday, August 19, 2005, at 9:00
21
     a.m.
22
            The parties stipulate and are agreeing that time can be excluded from the speedy trial act due
23
     to the fact that the government and both of the defendants are continuing in the process of pre-trial
24
     discussions, investigations and negotiations in a good faith effort and attempt to resolve this matter
25
     short of trial; the parties are in the continuing process of resolving some remaining issues in the
26
     potential plea agreements so that the case can be resolved by all parties short of trial (which is the
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28                                                       1
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 1   goal of all parties); the parties want to make sure the language in the plea agreements is correct and
 2   that there are no outstanding issues; the parties are working diligently to resolve all issues in the plea
 3   agreements. In that regard the government and the defense have held many discussions and have had
 4   face to face meetings and both the government and the defense are continuing to talk and moving
 5   toward resolution of all issues in the plea agreements; investigation by the parties is on going during
 6   the good faith efforts at negotiating a resolution short of trial; the parties have been sharing
 7   information and continue to share information in the on going good faith efforts at resolving this
 8   matter; when new information is presented it is being investigated by both sides; both the
 9   government and the defense are diligently working of resolving this matter.
10           The parties are requesting that the Court agree with this stipulation between the parties.
11           The defendants have been advised of their rights and the rights under both the speedy trial
12   Act and the Constitution and have agreed to such continuance.
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28                                                       2
         Case 2:03-cr-00362-GEB Document 56 Filed 06/23/05 Page 3 of 3


 1          The parties stipulate and agree that time shall be excluded through Friday, August 19,
 2   2005, under Title 18 section 3161(h)(8)(B)(ii) and Local Code T-4.
 3                                         Respectfully submitted,
 4                                         McGREGOR W. SCOTT
                                           UNITED STATES ATTORNEY
 5
                                           /s/ PHILLIP A. TALBERT BY JAMES R. GREINER
 6   DATED: 6-20-05                        _____________________________________
                                           PHILLIP A. TALBERT
 7                                         ASSISTANT UNITED STATES ATTORNEY
                                           ATTORNEYS FOR THE PLAINTIFF
 8
                                           /S/ ARMANDO G. VILLAPUDUA BY JAMES R. GREINER
 9
     DATED: 6-20-05                        ___________________________________
10                                         ARMANDO G. VILLAPUDUA
                                           ATTORNEY FOR DEFENDANT RUIZ
11
                                           /S/ JAMES R. GREINER
12
     DATED: 6-20-05                        _____________________________________
13                                         JAMES R. GREINER
                                           ATTORNEY FOR DEFENDANT LOPEZ, JR.
14
15   Permission to sign was granted by telephone authorization after full discussion with the attorneys.
16
17                                                 ORDER
18
19
            IT IS SO ORDERED.
20
     Dated: June 22, 2005
21
22                                                /s/ Garland E. Burrell, Jr.
                                                  GARLAND E. BURRELL, JR.
23                                                United States District Judge
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28                                                     3
